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                     UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                            EL PASO DIVISION


LULAC, et al.,

              Plaintiffs,

v.                                    Case No. 3:21-CV-00259-DCG-JES-
                                      JVB
GREG ABBOTT, in his official capacity              [Lead Case]
as Governor of Texas, et al.,

              Defendants.

ROY CHARLES BROOKS, FELIPE
GUTIERREZ, PHYLLIS GOINES,
EVA BONILLA, CLARA FAULKNER,
DEBORAH SPELL, BEVERLY
POWELL, SANDRA M. PUENTE,
JOSE R. REYES, SHIRLEY ANNA
FLEMING, LOUIE MINOR JR, and
NORMA CAVAZOS,
                                                Case No. 1:21-CV-00991-DCG-JES-
              Plaintiffs,                       JVB
                                                         [Consolidated Case]
v.

GREG ABBOTT, in his official capacity
as Governor of Texas; JOHN SCOTT,
in his official capacity as Secretary of
State of Texas,

              Defendants.


                      NOTICE OF APPEAL
          TO THE SUPREME COURT OF THE UNITED STATES
     Notice   is    hereby   given   that       ROY   CHARLES    BROOKS,    FELIPE

GUTIERREZ, PHYLLIS GOINES, EVA BONILLA, CLARA FAULKNER,

DEBORAH SPELL, BEVERLY POWELL, SANDRA M. PUENTE, JOSE R.

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REYES, SHIRLEY ANNA FLEMING, LOUIE MINOR JR, and NORMA CAVAZOS,

Plaintiffs in the case above described, hereby appeal to the Supreme Court of the

United States from the three-judge district court’s Preliminary-Injunction

Memorandum Opinion and Order (Dkt. 258) signed on May 4, 2022 as well as the

order it modified, Order Denying Motion for a Preliminary Injunction (Dkt. 176)

signed on February 1, 2022.

      This appeal is taken pursuant to 28 U.S.C. §§ 1253 & 2284, which authorize

direct appeals to the Supreme Court of the United States from a three-judge district

court’s interlocutory or permanent injunctive orders in an action challenging the

constitutionality   of   the   apportionment   of   congressional   districts   or   the

apportionment of any statewide legislative body.

 June 2, 2022                            Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I, Chad W. Dunn, a member of the Bar of this Court, do hereby declare that

on this date, June 2, 2022, as required by Supreme Court Rule 29, I have caused

this Notice of Appeal to be filed with the Clerk of the United States District Court

and service to all counsel of record will occur electronically by CM/ECF. I also

declare that counsel listed below is, on this date, being served hard copies by U.S.

Mail in accordance with Supreme Court Rule 29:

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